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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

        CHAMBERS OF                                                                 U.S. COURTHOUSE
     CATHERINE C. BLAKE                                                        101 WEST LOMBARD STREET
UNITED STATES DISTRICT JUDGE                                                  BALTIMORE, MARYLAND 21201
                                                                                       (410) 962-3220
                                                                                     Fax (410) 962-6836


                                       October 22, 2020


 MEMORANDUM TO COUNSEL

        Re:      United States v. Johnson Ogunlana, et al.
                 Criminal No. CCB-20-0285


 Dear Counsel:

         This will confirm the results of our conference call today. Discovery is largely but
 not entirely complete. A status report is due from counsel on November 23, 2020,
 addressing the need for any defense motions to be filed and the likelihood that one or
 both of the defendants will choose to proceed to a jury trial. Counsel will be contacted
 shortly thereafter to set a scheduling conference call in accordance with the contents of
 the status report.

        Despite the informal nature of this ruling, it shall constitute an Order of
 Court, and the Clerk is directed to docket it accordingly.

                                               Sincerely yours,


                                                       /S/

                                               Catherine C. Blake
                                               United States District Judge
